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                                               April 2, 2024

Terrance Hall
Lisa Hall
7621 Wilhelm Avenue
Baltimore, MD 21237

        Re:        Doreen Henry v. Terrance Hall and Lisa Hall, Case No.: 1:23-cv-01285-ELH,
                   United States District Court for the District of Maryland

Dear Mr. and Mrs. Hall:

         As you are aware, this firm represents Plaintiff Doreen Henry (“Plaintiff” or “Ms. Henry”)
in the above-referenced matter. It is my understanding that each of you are still self-represented
in this case. If you have any attorney, please let us know and we will contact them directly.

        Pursuant to Rule 15(a) of the Federal Rules of Civil Procedure and Section (d) of Local
Rule 6 of the United States District Court for the District of Maryland, Ms. Henry intends to amend
the Complaint to add Roger Kerr (“Mr. Kerr”) as a party to this action as a Plaintiff. Please advise
no later than Wednesday, April 10, 2024 whether you consent to Ms. Henry seeking leave to amend
the Complaint to add Mr. Kerr.

        Given that we are not your attorneys, we are unable to provide you with any legal advice,
and, as a result, to the extent you have any questions related to the filing of an amended complaint
or any other questions regarding this matter and how to proceed, you should direct them to counsel
of your choosing or to the Court.

        If you wish to discuss further, please contact me. Thank you.

                                               Very truly yours,

                                               KAGAN STERN MARINELLO & BEARD, LLC

                                               Veronica J. Mina

                                               Veronica J. Mina
cc: Doreen Henry


                                  KAGAN STERN MARINELLO & BEARD, LLC
                                           ANNAPOLIS, MARYLAND
